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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 PRINCIPAL LIFE INSURANCE                       §
 COMPANY,                                       §
                                                §
      Plaintiff,                                §
                                                §
 v.                                             §    CIVIL ACTION NO. 3:22-CV-2751-B
                                                §
 JOHN JENNINGS; JENNIFER                        §
 HUFFMAN; and I.A., a Minor;                    §
                                                §
      Defendants.                               §

                                      FINAL JUDGMENT
         On July 10, 2023, this Court granted Plaintiff Principal Life Insurance Company’s Motion

for Interlocutory Default Judgment against Defendant Jennifer Huffman (Doc. 23) and Motion for

Interlocutory Default Judgment against Defendant John Jennings (Doc. 30). Doc. 36, Mem. Op.

& Order. Accordingly, the Court ENTERS an ORDER OF DEFAULT JUDGMENT against

Defendants John Jennings and Jennifer Huffman. The Court finds Defendant I.A. is entitled to the

interplead funds. The Clerk of this Court is ORDERED to retain the interplead funds of $10,00.00,

plus any and all accrued interest, in the Court’s registry in an interest-bearing account. I.A. may

move to withdraw the funds from the Court’s registry upon reaching maturity.

         The Clerk is DIRECTED to close this case.

         SO ORDERED.

         SIGNED: July 10, 2023.


                                             _________________________________
                                             JANE J. BOYLE
                                             UNITED STATES DISTRICT JUDGE
